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                                C A SE N O .20-M J-02247-CM M


  IN RE : SE ALED C O M PLAIN T

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         The United States ofAm erica,having applied to this Courtfor and Order sealing the

  com plaint,and thisorder and the Courtfinding good cause:

        IT IS HEM BY ORDERED thattheeomplaint(DE 1),supporting aftidavit,thismotion,
  andthisordershallbefiled undersealuntilfurtherorderofthisCourt. H ow ever,the United States

 Attorney's Offke and defense eounselm ay obtain copies ofany complaint and the supporting

 Affidavit.

        DONEANDORDEREDinchambersatMiami,Florida,this/Y dayofFebnzary2020.

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 cc:Karen E.Gilberq AssistantUnited StatesAtlorney
